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                      Exhibit 7
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                                   STANDARDIZED FUND ACCOUNTING REPORT - Cash Basis
                                SEC v. Christopher Faulkner, et al.; Civil Court Docket No. 3:16-cv-1735-D
                                                Reporting Period 10/1/2018 - 12/31/2018



   FUND ACCOUNTING (See Instructions):
                                                                         Detail       Subtotal          Grand Total
   Line 1       Beginning Balance (As of 10/1//2018):                                               $        117,245.59
                Increases in Fund Balance:
   Line 2       Business Income                                                                     $         56,487.28
   Line 3       Cash and Securities                                                                 $        795,247.77
   Line 4       Interest/Dividend Income
   Line 5       Business Asset Liquidation
   Line 6       Personal Asset Liquidation                                                          $         52,000.00
   Line 7       Third-Party Litigation Income
   Line 8       Miscellaneous - Other (Excess w/d payments)
                  Total Funds Available (Lines 1 – 8):                                              $    1,020,980.64
                Decreases in Fund Balance:
   Line 9       Disbursements to Investors
   Line 10      Disbursements for Receivership Operations
        Line 10aDisbursements to Receiver or Other Professionals                                    $        (85,668.40)
        Line 10bBusiness Asset Expenses                                                             $        (15,313.56)
        Line 10cPersonal Asset Expenses                                                             $           (330.70)
        Line 10dInvestment Expenses
        Line 10eThird-Party Litigation Expenses                                                     $         (1,887.72)
                    1. Attorney Fees
                    2. Litigation Expenses
                  Total Third-Party Litigation Expenses
        Line 10f Tax Administrator Fees and Bonds
        Line 10gFederal and State Tax Payments
                  Total Disbursements for Receivership Operations
   Line 11      Disbursements for Distribution Expenses Paid by the Fund:
        Line 11a   Distribution Plan Development Expenses:
                     1. Fees:
                           Fund Administrator…………………...………………..
                           Independent Distribution Consultant (IDC)……………………………………...………….……..
                           Distribution Agent…………………...……………....…
                           Consultants…………………………....……………….
                           Legal Advisers……………………...…..………………
                           Tax Advisers………………………..………….…………
                     2. Administrative Expenses
                     3. Miscellaneous
                    Total Plan Development Expenses
        Line 11b    Distribution Plan Implementation Expenses:
                      1. Fees:
                           Fund Administrator…………………..…………..………
                           IDC……………………………………...…......…………
                           Distribution Agent……………………..….……………..
                           Consultants………………………………....……………
                           Legal Advisers………………………..……....…………
                           Tax Advisers…………………….………….……………
                      2. Administrative Expenses
                      3. Investor Identification:
                           Notice/Publishing Approved Plan……………...……..…..
                           Claimant Identification…………………….……...…….
                           Claims Processing………………………….………..……
                           Web Site Maintenance/Call Center……….……...……
                      4. Fund Administrator Bond
                      5. Miscellaneous
                      6. Federal Account for Investor Restitution
                      (FAIR) Reporting Expenses
                    Total Plan Implementation Expenses
                   Total Disbursements for Distribution Expenses Paid by the Fund                   $               -
   Line 12      Disbursements to Court/Other:
        Line 12a   Investment Expenses/Court Registry Investment
                System (CRIS) Fees
        Line 12b   Federal Tax Payments
                 Total Disbursements to Court/Other:
                 Total Funds Disbursed (Lines 9 – 11):                                              $     (103,200.38)
   Line 13      Ending Balance (As of 12/31/2018):                                                  $        917,780.26
   Line 14      Ending Balance of Fund – Net Assets:
        Line 14a   Cash & Cash Equivalents
        Line 14b   Investments
        Line 14c   Other Assets or Uncleared Funds
                 Total Ending Balance of Fund – Net Assets                                          $        917,780.26




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                                 STANDARDIZED FUND ACCOUNTING REPORT - Cash Basis
                              SEC v. Christopher Faulkner, et al.; Civil Court Docket No. 3:16-cv-1735-D
                                              Reporting Period 10/1/2018 - 12/31/2018



   OTHER SUPPLEMENTAL INFORMATION:
                                                                            Detail            Subtotal          Grand Total
               Report of Items NOT To Be Paid by the Fund:
   Line 15      Disbursements for Plan Administration Expenses Not Paid by the Fund:
        Line 15a   Plan Development Expenses Not Paid by the Fund:
                     1. Fees:
                          Fund Administrator……………………...……………..
                          IDC………………………………………..……….……..
                          Distribution Agent……………………...…………....…
                          Consultants…………………………….……………….
                          Legal Advisers………………………….………………
                          Tax Advisers…………………………….…….…………
                    2. Administrative Expenses
                    3. Miscellaneous
                   Total Plan Development Expenses Not Paid by the Fund
        Line 15b   Plan Implementation Expenses Not Paid by the Fund:
                     1. Fees:
                          Fund Administrator…………………….………..………
                          IDC………………………………………........…………
                          Distribution Agent……………………….……………..
                          Consultants…………………………...…..……………
                          Legal Advisers…………………………..…...…………
                          Tax Advisers…………………….……...………………
                    2. Administrative Expenses
                    3. Investor Identification:
                          Notice/Publishing Approved Plan……………...……..…..
                          Claimant Identification…………………….……...…….
                          Claims Processing………………………….………..……
                          Web Site Maintenance/Call Center……….……...……
                    4. Fund Administrator Bond
                    5. Miscellaneous
                    6. FAIR Reporting Expenses
                  Total Plan Implementation Expenses Not Paid by the Fund
        Line 15c  Tax Administrator Fees & Bonds Not Paid by the Fund
                 Total Disbursements for Plan Administration Expenses Not Paid by the Fund
   Line 16      Disbursements to Court/Other Not Paid by the Fund:
        Line 16a   Investment Expenses/CRIS Fees
        Line 16b   Federal Tax Payments
                 Total Disbursements to Court/Other Not Paid by the Fund:
   Line 17     DC & State Tax Payments

   Line 18      No. of Claims:
        Line 18a   # of Claims Received This Reporting Period…..………………………………………………………
        Line 18b   # of Claims Received Since Inception of Fund…...…..…………………………………………
   Line 19      No. of Claimants/Investors:
        Line 19a   # of Claimants/Investors Paid This Reporting Period…..……..………………………………..
        Line 19b   # of Claimants/Investors Paid Since Inception of Fund.……….………………………………

                                                                    Receiver:


                                                                    By: __________________________________
                                                                                      (signature)

                                                                                         Thomas L. Taylor III
                                                                                          (printed name)

                                                                                             Receiver
                                                                                                (title)

                                                                    Date:        1/31/2018




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